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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                     May 19, 2017
                      IN THE UNITED STATES DISTRICT COURT                         David J. Bradley, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DISTRICT


JUSTIN COFFEY,                             §
                                           §
        Plaintiff,                         §
                                           §
V.                                         §
                                           §       C. A. Number 4:17-CV-0040
                                           §
SUN LIFE ASSURANCE                         §
COMPANY OF CANADA                          §
                                           §
       Defendant.                          §


                     ORDER FOR DISMISSAL WITH PREJUDICE

        The Parties have advised the Court that they have settled their differences.

Accordingly, the Court hereby dismisses the causes of action, with prejudice. All costs

of court are taxed against the party incurring said costs. All further relief is denied.

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                                            UnitecfStates D1strict Judge
